Case 2:20-cv-02518-CJC-PD Document 16 Filed 10/15/20 Page 1 of 1 Page ID #:139



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  8                     UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
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 11    LAWRENCE WHITE,                         Case No. CV 20-2518-CJC (PD)
 12                     Petitioner,
                                               JUDGMENT
 13          v.
 14    STU SHERMAN,
 15                     Respondent.
 16
 17         Pursuant to the Court’s Order Accepting the Report and
      Recommendation of United States Magistrate Judge,
 18
            IT IS ADJUDGED that the Petition is dismissed without prejudice.
 19
 20
 21   DATED: October 15, 2020.
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 23
                                            CORMAC J. CARNEY
 24
                                         UNITED STATES DISTRICT JUDGE
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